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6
     Attorney for Plaintiff

7
                          UNITED STATES DISTRICT COURT
8                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
9
     GINNY EDMUNDS,                     ) Case No. 3:13-cv-00080-IEG-DHB
10                                      )
             Plaintiff,                 ) NOTICE OF SETTLEMENT
11
                                        )
12            vs.                       )
                                        )
13
     NATIONAL ENTERPRISE SYSTEMS, )
14   INC., and DOES 1 TO 20, INCLUSIVE, )
                                        )
15
              Defendant.                ) ________________________________
16   __________________________________
17          NOW COMES THE PLAINTIFF by and through her attorney to respectfully

18   notify this Honorable Court that this case has settled. Plaintiff requests that this
19
     Honorable Court allow sixty (60) days with which to file dispositive documentation. A
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21
     Voluntary Dismissal will be forthcoming. This Court shall retain jurisdiction over this

22   matter until fully resolved.
23
                   Respectfully submitted this 15th day of February, 2013.
24

25
                                             By: s/Todd M. Friedman
                                                TODD M. FRIEDMAN
26                                              Law Offices of Todd M. Friedman, P.C.
                                                Attorney for Plaintiff
27

28   Filed electronically on this 15th day of February, 2013, with:



                                         Notice of Settlement - 1
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1    United States District Court CM/ECF system
2
     Notification sent electronically via the Court’s ECF system to:
3

4
     Honorable Irma E. Gonzales
     United States District Court
5    Southern District of California
6
     J. Grace Felipe, Esq.
7    Carlson & Messer LLP
8
     Attorney for Defendant

9    This 15th day of February, 2013.
10
     s/Todd M. Friedman
11   Todd M. Friedman
12

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                                         Notice of Settlement - 2
